        CASE 0:20-cv-01329-PJS-BRT Doc. 50 Filed 07/26/22 Page 1 of 21




                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


ASHLEY QUIÑONES, as trustee for Brian              Case No. 20‐CV‐1329 (PJS/BRT)
Jesús Quiñones‐Rosario,

                     Plaintiff,

v.                                                            ORDER

CITY OF EDINA, Minnesota; CITY OF
RICHFIELD, Minnesota; NICHOLAS
PEDERSEN; BENJAMIN WENANDE;
JOSEPH CARROLL; MACABE STARIHA;
and DYLAN SCHULTZ, all individuals
being sued in their individual and official
capacities,

                     Defendants.


      Francis H. White, III, and Brian K. Lewis, FRANCIS WHITE LAW, PLLC;
      Ruth N. Lane, LANE LAW AND CPA SERVICES, LLC, for plaintiff.

      Patrick S. Collins and Joseph E. Flynn, JARDINE, LOGAN & O’BRIEN,
      P.L.L.P., for defendants City of Edina, Nicholas Pedersen, and Benjamin
      Wenande.

      Julia C. Kelly, Jason M. Hiveley, Stephanie A. Angolkar, and Aaron M.
      Bostrom, IVERSON REUVERS, for defendants City of Richfield, Joseph
      Carroll, Macabe Stariha, and Dylan Schultz.

      On September 7, 2019, Brian Jesús Quiñones‐Rosario committed suicide by cop.

That night, after giving his family cryptic good‐byes, he drove off alone. While

streaming on Facebook Live, he drove erratically until he caught the attention of Edina
           CASE 0:20-cv-01329-PJS-BRT Doc. 50 Filed 07/26/22 Page 2 of 21




and Richfield police officers. After a five‐minute pursuit, Brian1 abruptly braked. He

grabbed a large knife, got out of his car, and defied numerous commands from the

officers to drop the knife. Instead, Brian shouted “do it!” at the officers, who were

aiming their guns at Brian. After Brian charged at the officers with the knife, two of

them fired a short volley of shots. After Brian continued to advance, four officers fired a

second volley. Brian finally fell to the ground and died soon after.

       Plaintiff Ashley Quiñones, Brian’s widow, brought this action against the five

officers involved in her husband’s death and against the cities for which those officers

work. Ashley asserts claims under both federal and state law. The matter is now before

the Court on the defendants’ motions for summary judgment. Because the officers

clearly did not violate Brian’s constitutional rights, the Court dismisses the federal

claims. The Court declines to exercise supplemental jurisdiction over the state‐law

claims.

                                    I. BACKGROUND

                                 A. Good‐Byes and Pursuit

       On the evening of September 7, 2019, Brian had a conversation with his sister,

Wilma Quiñones‐Rosario, via Facebook messages; he discussed with her the outcome of




       1
      The Court will use first names for several people who are involved in this case
and who have the last name “Quiñones.”

                                            ‐2‐
           CASE 0:20-cv-01329-PJS-BRT Doc. 50 Filed 07/26/22 Page 3 of 21




a talk with his son, C.Q., after C.Q. was caught smoking marijuana. ECF No. 37‐1 at 12.2

In the midst of the conversation with Wilma, Brian abruptly said, “Yea. I ain’t shit.”

Wilma asked, “Why you say that,” to which Brian responded only, “I’m so sorry.” Id. at

12–13. Wilma sent three follow‐up messages, but Brian did not respond. Id. at 13, 46.

       Around that same time, Brian approached C.Q. and told him to “never look up to

[Brian].” ECF No. 38 at 6. Brian then hugged C.Q.’s great‐grandfather (and Ashley’s

grandfather) Donald Williams, see ECF No. 37‐3 at 4–5—the three were all at Williams’s

house, see ECF No. 38 at 6—and thanked him “for making [Brian] a better man or

knowing what it is to be a man,” ECF No. 37‐3 at 10.

       As Brian began to leave, C.Q. told Williams “something is wrong with my dad,”

and Williams agreed that Brian’s behavior was “unusual” because “Brian is not the

emotional type.” ECF No. 37‐3 at 10. The two went outside to stop Brian from leaving;

they found Brian as he was getting into his car.3 Id. Brian did not stop; after

responding, “I’ll see you tomorrow,” he drove off. Id.

       Williams and C.Q. were worried about Brian’s emotional well‐being. They got in

a car and tried to follow him; Williams drove, while C.Q. tried to call his mother,


       2
        When citing documents by ECF number, the Court cites the page numbers
generated by the Court’s electronic docketing system rather than the document’s
internal pagination.
       3
       The car was registered in Ashley’s name, but Brian regularly drove it. ECF
No. 37‐3 at 10.

                                            ‐3‐
        CASE 0:20-cv-01329-PJS-BRT Doc. 50 Filed 07/26/22 Page 4 of 21




Ashley. Id. The two went to Brian and Ashley’s house, but Brian’s car was not there.

Id. C.Q. kept trying to call his mother while Williams kept driving. Id. Williams

eventually saw a police car with its lights on and began following it. Id. Suddenly,

Brian drove past Williams on the other side of the road, and C.Q. immediately

recognized his father’s car. Id. Another squad car was pursuing Brian. Id. at 10–11.

       Brian had attracted the attention of police officers shortly after 10:00 pm. ECF

No. 37‐6 at 5. As is evident from his contemporaneous stream on Facebook Live, Brian

had been driving recklessly in the rainy weather: speeding, running stoplights, weaving

between lanes, and holding his phone while driving. See, e.g., ECF No. 36‐9 at 0:20–0:40,

2:15–2:40, 5:45–6:10. At one point, Edina Police Officer Nicholas Pedersen saw Brian

turn right at a red light without stopping or signaling his turn. ECF No. 37‐5 at 11, 14;

see also ECF No. 36‐22 at 0:27–0:30. After following Brian for about a quarter of a mile at

about 10 to 15 miles per hour above the speed limit, Pedersen turned on his squad car’s

emergency lights (just after Brian made another turn without signaling), and Pedersen

turned on his siren after Brian continued another block without stopping. ECF No. 37‐5

at 14–15; see also ECF No. 36‐1 at 1:20–1:40. With Brian refusing to stop, Pedersen began

to pursue him for committing the felony of fleeing a police officer in a motor vehicle.

ECF No. 37‐5 at 15, 18.




                                            ‐4‐
        CASE 0:20-cv-01329-PJS-BRT Doc. 50 Filed 07/26/22 Page 5 of 21




       After calling for assistance, Pedersen was joined by Edina Police Officer

Benjamin Wenande, who activated his own emergency lights and drove toward

Pedersen’s location. ECF No. 36‐10 at 867. Richfield Police Officers Macabe Stariha,

Joseph Carroll, and Dylan Schultz also joined the pursuit as it reached the City of

Richfield’s borders. Id. at 586, 604–05, 620.

       Meanwhile, Ashley had received calls from both C.Q. and Wilma. C.Q. had told

Ashley “something was wrong with Brian and Brian was upset,” ECF No. 37‐4 at 24–25,

and Wilma told her that “Brian was live on Facebook . . . and he might be pulled over

by the police,” id. at 25. At Wilma’s behest, Ashley activated an app to try to track

Brian’s location. Id. at 25–26. Brian had a habit of driving certain routes while “in a

zone for rapping,” and Ashley started driving those “loops” to look for him. Id. at 26.

       Eventually, Ashley found Brian and the squad cars pursuing him, all with lights

and sirens activated. Id. Ashley passed Pedersen’s squad car mid‐pursuit and pulled

up next to Brian’s car for a period of time before braking to avoid hitting vehicles

stopped at a red light. ECF No. 36‐1 at 6:02–6:12; ECF No. 37‐4 at 26. Brian ran that

light, barely missing a car turning out of the cross‐traffic. ECF No. 36‐1 at 6:09–6:13.

Ashley tried to follow Brian and Pedersen. She abruptly passed a vehicle turning right

at the intersection and then changed lanes, twice cutting off Schultz during his pursuit

of Brian. ECF No. 36‐2 at 3:08–3:15; ECF No. 37‐4 at 26.



                                                ‐5‐
           CASE 0:20-cv-01329-PJS-BRT Doc. 50 Filed 07/26/22 Page 6 of 21




       Pedersen—after seeing Brian recklessly drive through yet another red light and

almost hit another car—attempted a PIT maneuver4 to stop Brian. ECF No. 37‐5 at 22.

Pedersen missed, but Brian suddenly braked. Id. at 22–23. Pedersen also braked,

stopping close to the front right of Brian’s car. Id. at 23. See also ECF No. 36‐1 at

6:27–6:37 (video footage of the attempted PIT maneuver and the sudden braking

afterward).

                                      B. The Shooting

       After stopping, Brian grabbed a large knife and got out of his car. ECF No. 37‐6

at 7 fig.3 (depicting still frames from ECF No. 36‐9 at about 12:07); see also ECF No. 37‐4

at 27 (confirming that Ashley had kept a kitchen knife in the passenger glove box of

Brian’s car). Pedersen got out of his squad car and drew his sidearm. ECF No. 37‐5 at

23. Brandishing the knife, Brian advanced toward Pedersen, and Pedersen ordered

Brian to “[g]et on the ground!” Id. at 24; ECF No. 36‐1 at 6:39–6:41. Brian did not

comply; instead, Brian raised his knife above his shoulder while continuing to advance.

As Brian advanced, Pedersen retreated, trying to maintain his distance from Brian. ECF

No. 37‐5 at 24–25; ECF No. 36‐1 at 6:43–6:46.



       4
        This is a “method used by police to force a pursued vehicle to abruptly turn
sideways to the direction of travel, by bumping the back side of the pursued vehicle
with the police vehicle, causing the fleeing driver to lose control and stop.” United
States v. Bazaldua, 506 F.3d 671, 673 n.2 (8th Cir. 2007). (The precise words that “PIT”
stands for were unsettled as of Bazaldua.)

                                             ‐6‐
        CASE 0:20-cv-01329-PJS-BRT Doc. 50 Filed 07/26/22 Page 7 of 21




       Pedersen mistakenly tried to report “he’s got a gun!” but his radio did not

transmit that statement. ECF No. 36‐1 at 6:43; ECF No. 36‐8 at 4:06–4:13 (recording of

police radio transmissions, reflecting only Pedersen’s later references to a knife).

Pedersen immediately corrected himself, announcing over the radio, “He’s got a knife,”

and then repeatedly ordered Brian to drop the knife. ECF No. 36‐1 at 6:45–6:49. Again,

Brian refused to comply. Instead, he continued his advance, circling Pedersen and

daring him, more than once, to “[d]o it!” Id. at 6:47–6:52; ECF No. 36‐2 at 3:37–3:40.

       Stariha and Schultz arrived at the scene. They both had heard Pedersen’s

repeated commands to drop the knife, either over the radio or at the scene. ECF No. 36‐

10 at 587, 622. Stariha drew his sidearm soon after exiting his squad car. Id. at 587.

Then Carroll arrived. Carroll had also heard Pedersen shout “drop it!” at least once,

either over the radio or at the scene. Id. at 607.

       Schultz began to approach Brian in order to use a Taser on him, but Brian lunged

toward Schultz and Pedersen while still holding the knife. Id. at 621; ECF No. 36‐2 at

3:42–3:43. Schultz then shot his Taser, but Brian continued to advance with the knife; it

is not clear whether the Taser bolt missed Brian or whether it hit him but had no impact.

ECF No. 36‐10 at 621, 625; ECF No. 36‐2 at 3:42–3:43. Pedersen and Stariha fired their

weapons. ECF No. 36‐2 at 3:43–3:45; ECF No. 36‐3 at 4:05–4:08; ECF No. 36‐10 at 587,

896. Carroll heard the shots and saw Brian continuing to brandish the knife; when



                                              ‐7‐
         CASE 0:20-cv-01329-PJS-BRT Doc. 50 Filed 07/26/22 Page 8 of 21




Brian started running in Carroll’s direction, Carroll drew his firearm. See ECF No. 36‐10

at 605, 608–09.

       Next on the scene was Wenande, who had also heard Pedersen’s shouts of “he’s

got a knife!” and “drop the knife!” both on radio traffic before arriving and as he was

exiting his squad car. Id. at 868–69; 872. Wenande then heard the first round of

gunshots, even though he could not see what was happening because his view was

blocked by the other squad cars. Id. at 869. Wenande ran to the scene, finding Brian

holding himself against a tree with “one hand open and one hand closed.” Brian looked

at officers with a “kind of a blank stare” that, according to Wenande’s training,

indicated that Brian was “in some form of a mental health state or psychosis state.” Id.

Wenande elaborated:

              [W]hen he locked eye contact with me . . . [,] I could see
              that . . . he was physically in pain and that no one was home.
              That[] . . . something isn’t right. . . . I remember thinking that
              if this guy’s already been shot . . . [a]nd he still isn’t willing
              to surrender . . . [,] there’s something wrong with him and
              that he’s willing to continue to try and fight with us. . . .
              I don’t know what it is but . . . I know that he’s probably not
              gonna be able to [be] reasoned with or talked down or
              anything like that.

Id. at 874.




                                             ‐8‐
           CASE 0:20-cv-01329-PJS-BRT Doc. 50 Filed 07/26/22 Page 9 of 21




       Officers continued ordering Brian to drop the knife, but Brian—still holding the

knife—instead moved toward Carroll and Wenande;5 those two officers, along with

Stariha and Schultz, fired another round of shots. ECF No. 36‐3 at 4:08–4:11; ECF

No. 36‐10 at 587, 609, 626, 869. Brian fell to the ground and finally released the knife,

and the officers handcuffed him. ECF No. 36‐2 at 3:48–3:52; ECF No. 36‐10 at 869. The

officers administered first aid, but Brian died from his wounds at the scene. ECF

No. 36‐10 at 610, 869–71.

       The officers fired a total of 18 shots at Brian, seven of which hit him. ECF No. 36‐

17 at 16. Less than five seconds elapsed between the first and second rounds of shots.

See ECF No. 36‐1 at 6:54–6:59.

                                       C. Aftermath

       Ashley, having joined the pursuit of Brian, parked her SUV among the parked

squad cars. ECF No. 36‐5 at 3:42–3:45; ECF No. 36‐6 at 3:38–3:45. She waited in her

SUV, in obvious distress. ECF No. 36‐5 at 3:46–4:00; ECF No. 36‐6 at 3:43–4:15.

Richfield Police Officer Hailey Quanbeck began speaking to Ashley, and Ashley

spontaneously stated, “That’s my husband. He’s suicidal.” ECF No. 36‐5 at 4:00–4:05.

Ashley repeated that Brian was suicidal multiple times during her conversation with



       5
       Wenande did not see a knife in Brian’s clenched hand, but he inferred that Brian
had a knife because of what he had heard over the radio and from other officers in the
moments before the shooting. ECF No. 36‐10 at 869.

                                            ‐9‐
        CASE 0:20-cv-01329-PJS-BRT Doc. 50 Filed 07/26/22 Page 10 of 21




Quanbeck. E.g., id. at 4:56–4:57, 5:58–6:01. Ashley also repeatedly asked why Brian

“would . . . do this to us?” Id. at 7:55–8:17 (“Why would he do this? Why would he do

this to us? Why would he do this to us?”).

       In the hours that followed, Brian’s family members made statements about

Brian’s troubled mental state. Williams told police that Brian had been acting “strange,”

“out of the ordinary,” and “different”; that Brian “had depression”; and that “[Brian

had] been having some issues lately.” ECF No. 36‐10 at 219–20; see also id. at 937–38.

And C.Q. messaged a friend, saying that Brian “wanted it to happen. . . . He was gonna

commit suicide but he wanted it to be on the cops. . . . He talked to me and said to never

look up to him before it happened he wanted it to happen. I [k]now this.” ECF No. 38

at 5–6, 18–19.

       About five months later, the Hennepin County Attorney’s Office found that the

five officers who had shot Brian had acted lawfully in using deadly force. ECF No. 36‐

17 at 3, 16. The county attorney therefore declined to bring criminal charges against any

of the officers. Id. at 3, 16, 18.

       Later, however, Ashley brought this lawsuit against the five officers and the

Cities of Edina and Richfield. ECF No. 1. She asserts claims of excessive force and

failure to intervene under 42 U.S.C. § 1983 against the five officers in their individual

and official capacities, id. ¶¶ 90–96, 109–13; claims of municipal liability under 42 U.S.C.



                                            ‐10‐
       CASE 0:20-cv-01329-PJS-BRT Doc. 50 Filed 07/26/22 Page 11 of 21




§ 1983 and Monell v. Department of Social Services of City of New York, 436 U.S. 658 (1978),

against the City of Edina and the City of Richfield, ECF No. 1 ¶¶ 97–108; a slew of state‐

law tort claims against the defendants, id. ¶¶ 114–51; and a claim for a declaratory

judgment against the defendants that their “policies, pattern of practices, customs, lack

of supervision, failure to train, acts, and omissions . . . violate the Fourth Amendment to

the U.S. Constitution and constitute excessive force in violation of Minnesota state law,”

id. ¶¶ 152–54. The defendants have moved for summary judgment on all claims. ECF

Nos. 27, 33.

                                       II. ANALYSIS

                                     A. Legal Standard

       Summary judgment is warranted “if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of

law.” Fed. R. Civ. P. 56(a). A dispute over a fact is “material” only if its resolution

might affect the outcome of the lawsuit under the governing substantive law. Anderson

v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A dispute over a fact is “genuine” only if

“the evidence is such that a reasonable jury could return a verdict for the nonmoving

party.” Id. “The evidence of the non‐movant is to be believed, and all justifiable

inferences are to be drawn in [her] favor.” Id. at 255.




                                            ‐11‐
        CASE 0:20-cv-01329-PJS-BRT Doc. 50 Filed 07/26/22 Page 12 of 21




                            B. Individual‐Capacity § 1983 Claims

       Qualified immunity protects public officials sued in their individual capacities

from being held liable for damages under 42 U.S.C. § 1983 if “their conduct does not

violate clearly established statutory or constitutional rights of which a reasonable

person would have known.” Bradford v. Huckabee, 394 F.3d 1012, 1015 (8th Cir. 2005)

(quoting Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982)). “In resolving questions of

qualified immunity at summary judgment, courts engage in a two‐pronged inquiry.

The first asks whether the facts, ‘[t]aken in the light most favorable to the party

asserting the injury, . . . show the officer’s conduct violated a [federal] right.’” Smith v.

Conway Cnty., 759 F.3d 853, 858 (8th Cir. 2014) (alterations in original) (quoting Tolan v.

Cotton, 572 U.S. 650, 655–56 (2014)). If so, the second prong “asks whether the right in

question was ‘clearly established’ at the time of the violation.” Id. (quoting Tolan,

572 U.S. at 656).

       Here, the Court need address only the first question, as the officers plainly did

not violate Brian’s constitutional rights. In an excessive‐force case, a court employs “the

Fourth Amendment’s objective reasonableness standard”—in other words, a court asks

“whether the officers’ actions are ‘objectively reasonable’ in light of the facts and

circumstances confronting them, without regard to their underlying intent or

motivation.” Hassan v. City of Minneapolis, 489 F.3d 914, 919 (8th Cir. 2007) (quoting



                                             ‐12‐
        CASE 0:20-cv-01329-PJS-BRT Doc. 50 Filed 07/26/22 Page 13 of 21




Craighead v. Lee, 399 F.3d 954, 961 (8th Cir. 2005)). If an “officer has probable cause to

believe that [a] suspect poses a threat of serious physical harm, either to the officer or to

others, it is not constitutionally unreasonable to prevent escape by using deadly force.”

Id. (quoting Brosseau v. Haugen, 543 U.S. 194, 197–98 (2004)).

       In conducting this inquiry, a court must not act as a “Monday morning

quarterback.” Schulz v. Long, 44 F.3d 643, 649 (8th Cir. 1995). The court also must not

“hinder or interfere with the difficult tasks and emotionally‐charged situations that

officers face in their daily job.” Shade v. City of Farmington, 309 F.3d 1054, 1061 (8th Cir.

2002). Instead, “the calculus of reasonableness must embody allowance for the fact that

police officers are often forced to make split‐second judgments—in circumstances that

are tense, uncertain, and rapidly evolving.” Id. at 1061–62 (quoting Gardner v. Buerger,

82 F.3d 248, 252 (8th Cir. 1996)).

       The Court has carefully reviewed the record, especially the video evidence,

which was recorded by Brian during his Facebook Live stream and by cameras

mounted in the squad cars. The Court has examined each of the relevant videos many

times—at normal speed, in slow motion, and frame‐by‐frame. The Court finds that a

reasonable juror (even after drawing all reasonable inferences in favor of Ashley) would

be compelled to make the following factual findings:




                                             ‐13‐
       CASE 0:20-cv-01329-PJS-BRT Doc. 50 Filed 07/26/22 Page 14 of 21




       (1) Brian was behaving erratically before his death, leading his wife, their son,

and his wife’s grandfather to go looking for him because they were concerned about his

mental state.

       (2) Brian committed the felony of fleeing a police officer in a motor vehicle.

       (3) By leading police officers on a reckless, five‐minute chase, Brian endangered

not only the lives of those officers, but the lives of numerous innocent motorists and

pedestrians.

       (4) After abruptly braking and exiting his car, Brian aggressively approached

Pedersen, brandished a knife, ignored repeated commands to drop the knife, and

repeatedly shouted “do it!” Pedersen retreated from Brian, trying to keep Brian at a

safe distance.

       (5) Brian suddenly and quickly charged at the officers with the knife, causing

them to respond with the first round of gunfire.

       (6) Brian was not felled by the first round of gunfire and did not drop his knife.

       (7) Moments after being hit by the first round of gunfire, Brian again moved

toward the officers while clutching the knife. The officers responded with the second

round of gunfire.

       There is no question that, under the Constitution, an officer may use deadly force

against a person who advances toward the officer or another person while brandishing



                                           ‐14‐
       CASE 0:20-cv-01329-PJS-BRT Doc. 50 Filed 07/26/22 Page 15 of 21




a large knife or other weapon capable of inflicting serious injury. For example, the

Eighth Circuit held that police officers reasonably used deadly force against a man who

was “aggressively brandish[ing] a machete and a tire iron while approaching officers in

a threatening manner and did not slow down, although the officers repeatedly asked

[him] to put down his weapons.” Hassan, 489 F.3d at 919. If an aggressor is not

subdued by a single application of deadly force but continues to pose a threat, a second

application of deadly force is constitutionally reasonable. Hayek v. City of St. Paul,

488 F.3d 1049, 1054–55 (8th Cir. 2007) (second use of deadly force justified after

aggressor had stabbed officer with katana and first use of deadly force “was ineffective

in stopping or controlling” the aggressor, “who continued to pursue” the wounded

officer with the katana).

       The circumstances here clearly justified the use of deadly force. Similar to the

aggressor in Hassan, Brian “aggressively brandished a [knife] while approaching

officers in a threatening manner and did not slow down, although the officers

repeatedly asked [him] to put down his weapon[].” Hassan, 489 F.3d at 919. And

similar to the situation in Hayek, the first round of gunshots “was ineffective in stopping

or controlling [Brian].” Hayek, 488 F.3d at 1054–55. Officers observed that, even after

being shot with a Taser and then with a round of bullets, Brian continued to advance

toward officers, continued to hold his knife, and displayed a blank stare that was



                                            ‐15‐
           CASE 0:20-cv-01329-PJS-BRT Doc. 50 Filed 07/26/22 Page 16 of 21




indicative of a person in an aggressive or psychotic state. In the few seconds after the

first round of shots—and under the stress of the rapidly evolving situation—a

reasonable officer in the position of the defendant officers could have perceived Brian as

preparing to launch a second attack with the knife. See ECF No. 36‐10 at 874. The

officers’ second round of fire—the second use of deadly force—was constitutionally

reasonable.

       In short, there is no genuine dispute that the officers used reasonable force

against Brian. And because each officer acted reasonably in using force, no officer had

an obligation to intervene to prevent the use of that force.

       Ashley makes two main arguments to the contrary. She first claims that Brian

did not charge toward officers with the knife. That is simply not true; the video clearly

shows that Brian did just that. See ECF No. 36‐4 at 3:40 (showing Brian darting forward

toward officer shortly before first round of gunfire); see also Scott v. Harris, 550 U.S. 372,

380 (2007) (“When opposing parties tell two different stories, one of which is blatantly

contradicted by the record, so that no reasonable jury could believe it, a court should

not adopt that version of the facts for purposes of ruling on a motion for summary

judgment.”).6 And even if Brian did not charge directly at a particular officer just before

       6
       The defendants also submitted animated, three‐dimensional reconstructions of
the shooting, which support the defendants’ accounts. ECF Nos. 30‐2, 30‐3, 37‐7. At the
hearing, Ashley objected to the Court’s consideration of those exhibits as evidence. The
                                                                             (continued...)

                                             ‐16‐
           CASE 0:20-cv-01329-PJS-BRT Doc. 50 Filed 07/26/22 Page 17 of 21




the second round of shots—as he did just before the first round—he undeniably moved

in the general direction of the officers while holding the knife. ECF No. 36‐2 at 3:45–3:47

(showing Brian stepping toward officers while crossing his arms, knife still in hand,

shortly before second round of gunfire). Under the circumstances, a reasonable officer

could have perceived Brian as an imminent threat.

       Ashley also argues that the officers should be held liable under the “provocation

rule” that was created by the Ninth Circuit in Billington v. Smith, 292 F.3d 1177 (9th Cir.

2002), and then abrogated by the Supreme Court in County of Los Angeles v. Mendez,

137 S. Ct. 1539 (2017). Under the Billington rule, a law‐enforcement officer can be found

liable for using force against a suspect—even if that use of force was reasonable under

the circumstances—if, before using that force, the officer violated the suspect’s Fourth

Amendment rights, and the Fourth Amendment violation led to the need to use force.

So, for example, if a police officer unlawfully barges into a suspect’s home in the middle

of the night, the suspect responds by shooting at the police officer, and the police officer

returns fire, the police officer could be held liable for shooting the suspect (even if the

use of deadly force was justified by the fact that the suspect was shooting at the officer)

because the officer’s unlawful entry precipitated the exchange of gunfire.

       6
        (...continued)
Court has no reason to doubt the accuracy of the reconstructions, but whether they are
admissible is irrelevant. The Court would reach the same conclusion even if it ignored
the reconstructions and relied solely on the videos.

                                             ‐17‐
           CASE 0:20-cv-01329-PJS-BRT Doc. 50 Filed 07/26/22 Page 18 of 21




       Even if the provocation rule were still good law, the rule would not help Ashley

because there is no evidence that any police officer violated Brian’s constitutional rights

before using deadly force against him. The police lawfully pursued Brian based on

probable cause that he had committed a felony. Brian never submitted to the police’s

show of authority, so he was not “seized” during the police pursuit. California v. Hodari

D., 499 U.S. 621, 625–26 (1991). Once Brian left his car, he again did not submit to the

police, disobeying orders to drop the knife and get on the ground.7 Id. It was not until

Brian charged at officers and was hit by a Taser bolt or a bullet that he was first “seized”

for purposes of the Fourth Amendment. Torres v. Madrid, 141 S. Ct. 989, 1003 (2021). As

explained above, however, that seizure was lawful. See Hassan, 489 F.3d at 919.

Because Brian was not provoked to charge the officers by a violation of his Fourth

Amendment rights, the Billington rule would not help Ashley, even if the rule were still

good law.

       Of course, the Billington rule is not good law. The Billington rule has never been

the law of the Eighth Circuit (as Billington itself recognized, 292 F.3d at 1187), and the

rule was rejected by a unanimous United States Supreme Court in Mendez. 137 S. Ct. at

1546–48; see also Frederick v. Motsinger, 873 F.3d 641, 645–46 (8th Cir. 2017) (recognizing



       7
       Ashley points to a “twenty‐one‐foot rule” that she says the officers violated.
ECF No. 41 at 30; see also ECF No. 41‐1 at 18–19. Whatever merit that rule may have as a
matter of policy, no case holds that it is compelled by the United States Constitution.

                                            ‐18‐
           CASE 0:20-cv-01329-PJS-BRT Doc. 50 Filed 07/26/22 Page 19 of 21




Mendez). Of course, even under Mendez, “plaintiffs can—subject to qualified

immunity—generally recover damages that are proximately caused by any Fourth

Amendment violation.” Id. at 1548. But, again, Ashley has failed to establish that any

Fourth Amendment violation preceded Brian’s shooting, let alone that such a violation

proximately caused Brian’s death.8

       For these reasons, the officers are entitled to summary judgment on the § 1983

claims and the declaratory claim insofar as it seeks a declaration as to federal law.




       8
        Ashley also cites the case of a Minneapolis police officer, Mohamed Noor, see
generally State v. Noor, 964 N.W.2d 424 (Minn. 2021), for the proposition that “Minnesota
has imposed a higher standard on law enforcement officers than is known in most other
American jurisdictions”—a standard that “deems [officers’] transgressions criminal, not
merely potentially civil.” See ECF No. 41 at 21–23. Putting aside the fact that the same
county attorney’s office that prosecuted Noor declined to prosecute any of the officers
involved in this case, the Noor case and this case have dramatically different facts. Most
significantly, Noor’s victim, unlike Brian, did not commit a felony, did not defy
numerous police commands, and did not charge at Noor or anyone else while
brandishing a knife. Moreover, whether an officer is subject to criminal liability under
state law has little bearing on whether an officer is subject to civil liability under federal
law. The legal standards differ significantly.

                                             ‐19‐
           CASE 0:20-cv-01329-PJS-BRT Doc. 50 Filed 07/26/22 Page 20 of 21




                                     C. Monell Claims9

       Monell “liability under 42 U.S.C. § 1983 occurs only when a constitutional injury

is caused by ‘a government’s policy or custom, whether made by its lawmakers or by

those whose edicts or acts may fairly be said to represent official policy.’” Grayson v.

Ross, 454 F.3d 802, 810–11 (8th Cir. 2006) (quoting Monell, 436 U.S. at 694). To succeed

on the Monell claims, then, Ashley must identify an unconstitutional policy or custom,

and she must prove that the unconstitutional policy or custom caused a deprivation of

Brian’s constitutional rights. See Russell v. Hennepin Cnty., 420 F.3d 841, 848 (8th Cir.

2005); Williams‐El v. Johnson, 872 F.2d 224, 230 (8th Cir. 1989). But as explained above,

Brian’s constitutional rights were not violated. Thus, the cities are entitled to summary

judgment on the Monell claims and the declaratory claim insofar as it seeks a declaration

as to federal law.

                                    D. State‐Law Claims

       The remaining claims are state‐law claims and the portion of the declaratory

claim dealing with Minnesota law. The Court does not have original jurisdiction over

those claims, as the parties are not diverse. The Court could exercise supplemental

jurisdiction over those claims under 28 U.S.C. § 1367(a), but, because the claims over

       9
         The official‐capacity claims against the officers are, in fact, Monell claims against
the cities. Elder–Keep v. Aksamit, 460 F.3d 979, 986 (8th Cir. 2006) (“A suit against a
public official in his official capacity is actually a suit against the entity for which the
official is an agent.”).

                                             ‐20‐
       CASE 0:20-cv-01329-PJS-BRT Doc. 50 Filed 07/26/22 Page 21 of 21




which the Court has original jurisdiction are being dismissed before trial, the Eighth

Circuit requires this Court to decline to exercise supplemental jurisdiction over the

remaining state‐law claims. Hervey v. Cnty. of Koochiching, 527 F.3d 711, 726–27 (8th Cir.

2008). Thus, Ashley’s state‐law claims are dismissed without prejudice “so that [they]

may be considered, if at all, by the courts of Minnesota.” Id. at 726.

                                          ORDER

       Based on the foregoing, and on all of the files, records, and proceedings herein,

IT IS HEREBY ORDERED that defendants’ motions for summary judgment [ECF

Nos. 27, 33] are GRANTED. In particular:

       1.     Plaintiff’s federal claims are DISMISSED WITH PREJUDICE AND ON

              THE MERITS.

       2.     Plaintiff’s state‐law claims are DISMISSED WITHOUT PREJUDICE.

       LET JUDGMENT BE ENTERED ACCORDINGLY.

 Dated: July 26, 2022                          s/Patrick J. Schiltz
                                               Patrick J. Schiltz, Chief Judge
                                               United States District Court




                                            ‐21‐
